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          EXHIBIT 16
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November 1, 2019

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                       SUBJECT TO FRE 408 AND ALL STATE LAW ANALOGUES

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Re: Johnson & Johnson and Johnson & Johnson Consumer, Inc. (“J&J”) Indemnification
    Discussion Points to Imerys Talc America and its Affiliates (“Imerys”)

Dear Rick and Jeff:

We appreciate your taking the time to meet with us last week, and we look forward to continuing a
dialogue regarding the terms of an agreement among our clients. As requested, attached at Exhibit 1 are
the guiding principles we discussed with you last week regarding J&J’s preliminary thoughts on an
indemnification proposal in connection with potential liabilities associated with current and future claims
against Imerys alleging personal injuries caused by exposure to J&J products utilizing talc supplied by
Imerys (the “Talc Claims”). Please note that these principles are being provided on a confidential basis
and as a starting point for further negotiations with you and your clients. Neither the contents of this letter
nor of Exhibit 1 shall constitute a binding offer, agreement, or agreement to negotiate further, and J&J
reserves all rights in connection with the proposed principles, including the right to subsequently modify
any of the material terms of these principles.

These principles, which we anticipate will serve as the foundation for a formal term sheet and settlement
or chapter 11 plan, lay the groundwork for a solution that will allow the Debtors to emerge from
bankruptcy as a going concern while providing a fair and efficient mechanism for the resolution of the
Talc Claims against Imerys. We believe that J&J’s indemnification discussion points can lead to a
proposal that is in the best interests of the Debtors, their estates, and all of their creditors, including the
Talc Claims plaintiffs. The Debtors have asserted throughout the Chapter 11 Cases that (1) they sought
bankruptcy protection because of mounting defense costs and potential liabilities arising from the Talc


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Claims and (2) J&J’s potential indemnification obligations to the Debtors are among the most important
assets of the Debtors’ estates. J&J’s principles envision comprehensively and permanently resolving the
Talc Claims against the Debtors and granting the Debtors access to indemnification from J&J (without a
fight from J&J on the entitlement to and extent of the indemnity and at a greater amount than that to which
they are arguably contractually entitled). An agreement along the lines proposed by J&J will also benefit
the Debtors’ estates by freeing up estate resources that would otherwise have been used to satisfy the Talc
Claims, or litigate against J&J on the terms of the indemnity, and can now be used to provide a recovery
to other creditors.

Such agreement will have no negative impact on any of the estate’s creditors, and actualization of the
proposal will not require the consent of plaintiffs in the Talc Claims. Nevertheless, J&J does not oppose
your sharing this proposal with attorneys for the official committee of tort claimants and the future claims
representative. The plaintiffs should be in favor of this proposal as it gives them their day in court and
leaves them unimpaired, having a source for full recovery if they prevail.

From J&J’s perspective, this proposal is consistent with J&J’s position throughout these cases that the
Talc Claims should be litigated as they have no merit and can be defeated in court (whether at trial or on
appeal).

We look forward to receiving the Debtors’ prompt response to these principles, and remain committed to
reaching a mutually beneficial agreement. Please feel free to contact me directly with respect to any of
the matters addressed by this letter.


Sincerely,

/s/ Marcia L. Goldstein

Marcia L. Goldstein, Esq.


cc:
Diane Sullivan, Esq.
Ronit J. Berkovich, Esq.
Debora A. Hoehne, Esq.




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                                                    Exhibit 1

                   GUIDING PRINCIPLES FOR INDEMNIFICATION NEGOTIATION

The following are guiding principles for the negotiation of an agreement to settle all indemnification
obligations between J&J and the Debtors in connection with the Talc Claims. Any agreement pursuant
to these principles will supersede any prior indemnity agreements between J&J and Imerys and will be
subject to approval in the Chapter 11 Cases by the Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”). These principles do not constitute a binding offer, agreement, or agreement to
negotiate further.

         J&J agrees to assume the defense of litigation of all Talc Claims where plaintiffs allege exposure
          in any year prior to April 15, 2001 (“Covered Years,” and the Talc Claims alleged in such years,
          the “Covered Claims”), even if plaintiffs also allege exposure in non-Covered Years. In
          connection with the defense of Talc Claim litigation, J&J will assign counsel and otherwise
          control defense strategy and decisions in all respects. Imerys will cooperate with J&J in the
          defense of the Talc Claims

         To accomplish the foregoing, either (i) the automatic stay will be lifted to enable the Covered
          Claims to proceed outside of the Bankruptcy Court (and any chapter 11 plan injunction would
          not cover the Covered Claims) or (ii) the chapter 11 cases will be dismissed

         If it is determined at trial that a plaintiff was exposed in a Covered Year and Imerys is liable on a
          Covered Claim at trial or J&J settles a Covered Claim, J&J will pay for Imerys’s liability for
          such Covered Claim (including any portion of the Covered Claim that would otherwise be
          allocable to non-Covered Years)

         J&J has the right to settle any Covered Claim without Imerys’s consent

         J&J waives all indemnification claims that it may have against Imerys in connection with Talc
          Claims and Imerys waives any rights to indemnification for all Talc Claims where it is
          determined at trial that a plaintiff’s exposure was entirely within non-Covered Years, including
          2011

         Imerys assigns to J&J its rights, if any, to access J&J’s insurance policies to the extent J&J did
          not or does not already possess such rights

         Imerys shall cooperate with J&J in J&J’s efforts to pursue and secure coverage under J&J
          insurance policies for the Talc Claims




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         For the avoidance of doubt, except for the expansion of indemnity to some non-Covered Years,
          any agreement pursuant to the foregoing principles is not intended to enlarge J&J’s
          indemnification obligations under prior indemnification agreements




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